    Case 1:25-cv-10685-WGY          Document 60        Filed 04/11/25     Page 1 of 31




                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS, et al.,

                             Plaintiffs,
                                                       CIVIL ACTION
                        v.                             NO. 1:25-cv-10685-WGY

 MARCO RUBIO, in his official capacity as
 Secretary of State, and the DEPARTMENT
 OF STATE, et al.,

                             Defendants.


BRIEF OF THE COMMONWEALTH OF MASSACHUSETTS AND THE STATES OF
   WASHINGTON, ARIZONA, CALIFORNIA, COLORADO, CONNECTICUT,
     DELAWARE, HAWAI‘I, ILLINOIS, MAINE, MARYLAND, MICHIGAN,
MINNESOTA, NEW JERSEY, NEW YORK, OREGON, RHODE ISLAND, VERMONT
    & THE DISTRICT OF COLUMBIA AS AMICI CURIAE IN SUPPORT OF
         PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
                   (Leave to File Granted on April 10, 2025)


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       Case 1:25-cv-10685-WGY                        Document 60              Filed 04/11/25              Page 2 of 31




                                               TABLE OF CONTENTS

I.     INTRODUCTION AND INTERESTS OF AMICI ..............................................................1

II.    BACKGROUND ...................................................................................................................3

       A. The Ideological Deportation Policy ...............................................................................3

       B. Noncitizen Residents, Students, and Faculty Benefit Amici States...............................8

III.   THE IDEOLOGICAL DEPORTATION POLICY INFLICTS SEVERE AND
       IRREPARABLE HARM ON AMICI STATES AND IS CONTRARY TO THE
       PUBLIC INTEREST ...........................................................................................................12

       A. The Ideological Deportation Policy Inflicts Educational and Institutional Harm
          on Colleges and Universities Within Amici States ......................................................12

       B. The Ideological Deportation Policy Harms Public Safety, Public Health, and
          Religious Worship in Amici States ..............................................................................19

IV.    CONCLUSION ...................................................................................................................20




                                                                 i
         Case 1:25-cv-10685-WGY                         Document 60               Filed 04/11/25              Page 3 of 31




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                                                                     ii
         Case 1:25-cv-10685-WGY                           Document 60                Filed 04/11/25              Page 4 of 31




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         Case 1:25-cv-10685-WGY                           Document 60                Filed 04/11/25              Page 8 of 31




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                                                     Constitutional Provisions

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                                                                      vii
      Case 1:25-cv-10685-WGY              Document 60         Filed 04/11/25      Page 9 of 31




I.      INTRODUCTION AND INTERESTS OF AMICI

        The Commonwealth of Massachusetts and the States of Washington, Arizona, California,

Colorado, Connecticut, Delaware, Hawai‘i, Illinois, Maine, Maryland, Michigan, Minnesota, New

Jersey, New York, Oregon, Rhode Island, Vermont, and the District of Columbia (Amici States)

submit this brief in support of Plaintiffs’ motion for a preliminary injunction and in opposition to

the “Ideological Deportation Policy.” This policy, which strips noncitizen students and faculty of

their lawful immigration status, threatens our academic institutions, economic prosperity, and

global leadership in education and scientific innovation.

        The Trump Administration weaponizes immigration enforcement by targeting residents of

Amici States with lawful immigration status based on their protected expression and beliefs. On

its face, the Ideological Deportation Policy violates the First Amendment’s protection of free

speech, which the Supreme Court has repeatedly affirmed extends to noncitizen residents within

the United States. See, e.g., United States v. Verdugo-Urquidez, 494 U.S. 259, 271 (1990) (noting

that “resident [noncitizens] have First Amendment rights” (citation omitted)). Indeed, this policy

strikes at the heart of what the First Amendment prohibits. “If there is any fixed star in our

constitutional constellation, it is that no official, high or petty, can prescribe what shall be orthodox

in politics, nationalism, religion, or other matters of opinion.” W. Va. State Bd. of Educ. v. Barnette,

319 U.S. 624, 642 (1943). Yet the Administration is doing precisely that—prescribing orthodoxy

and punishing noncitizens who dissent through the severe sanctions of arrest, detention, and

deportation. The Ideological Deportation Policy is antithetical to the principle of free expression

that is supposed to define American higher education. It creates a pernicious dynamic whereby

noncitizens may self-censor for fear of losing their immigration status and campus community

members are thereby deprived of hearing their voices. See Reno v. ACLU, 521 U.S. 844, 845 (1997)




                                                   1
      Case 1:25-cv-10685-WGY            Document 60        Filed 04/11/25    Page 10 of 31




(“The vagueness of such a content-based regulation . . . raise[s] special First Amendment concerns

because of its obvious chilling effect on free speech.”). Amici States have a strong interest in

ensuring these basic constitutional protections for all our residents.

       The Ideological Deportation Policy inflicts concrete, measurable harm on Amici States. As

detailed infra, noncitizen students and faculty make substantial economic contributions to the

Amici States. But their importance transcends economics; they enrich our academic discourse,

strengthen our research capabilities, and enhance our global competitiveness. When students and

faculty fear deportation for expressing certain viewpoints, the entire academic experience suffers.

Classroom discussions become less robust, research questions go unexplored, and the pursuit of

truth—the very purpose of higher education—is compromised. And the Ideological Deportation

Policy sends a chilling message to talented students and faculty around the world: that they risk

detention, deportation, and an end to their academic career in the United States if they express a

viewpoint that displeases the Executive Branch. This message weakens Amici States’ position in

the global competition for talent.

       Amici States thrive by attracting a diversity of talent from around the world. The Trump

Administration’s systematic program of targeted ideological deportations threatens not just our

economies but our identities as Amici States, who value freedom of thought and expression. In the

words of detained Tufts student Rümeysa Öztürk, “the world is a more beautiful and peaceful place

when we listen to each other and allow different perspectives to be in the room.” 1 Amici States

have a profound interest in protecting our noncitizen students and faculty, the institutions they

enrich, and the communities that realize far-reaching benefits from their decision to study in the



       1
         Sean Cotter, et al., Lawyers spar over court jurisdiction in case of Rümeysa Öztürk,
detained Tufts student, Boston Globe (Apr. 3, 2025), https://www.bostonglobe.com/2025/04/03/
metro/ozturk-hearing-in-boston-federal-court/.

                                                  2
      Case 1:25-cv-10685-WGY           Document 60        Filed 04/11/25      Page 11 of 31




United States. We urge this Court to recognize these benefits—and the corresponding concrete

harms this policy inflicts—by enjoining a policy that targets our noncitizen residents for

investigation, surveillance, arrest, detention, and deportation based upon their beliefs and

expression.

II.    BACKGROUND

      A.       The Ideological Deportation Policy

       The Trump Administration, through two executive orders, laid the groundwork for

deporting noncitizens with whom it politically disagrees. First, Executive Order 14161 entitled

“Protecting the United States from Foreign Terrorists and Other National Security and Public

Safety Threats,” directs federal agencies to “vet and screen to the maximum degree possible”

foreign nationals seeking admission to (or already present in) the United States based not only on

security concerns but also vague ideological grounds. Exec. Order 14,161, § 2, 90 Fed. Reg. 8451

(Jan. 20, 2025). The Executive Order targets those who “espouse hateful ideology” and who “bear

hostile attitudes toward [America’s] citizens, culture, government, institutions, or founding

principles.” Id., § 1. Second, Executive Order 14188 entitled “Additional Measures to Combat

Anti-Semitism,” intensifies this ideological vetting by urging particular scrutiny and potential

removal of noncitizens affiliated with universities who engage in speech the Trump Administration

deems anti-Semitic. This includes protected political expression, such as criticisms of the

government and its position on the war in Gaza. Exec. Order 14,188, 90 Fed. Reg. 8847 (Jan. 29,

2025). A White House fact sheet accompanying the second order makes its ideological purpose

clear: it targets “leftist, anti-American colleges and universities,” applies to all “resident aliens

who joined in the pro-jihadist protests,” and represents a “promise” that the government “will find




                                                 3
     Case 1:25-cv-10685-WGY            Document 60        Filed 04/11/25      Page 12 of 31




you . . . and deport you.”2 In effect, the first order authorizes an expansive regime of ideological

deportations that the second order then aims at noncitizens attending colleges and universities who

express pro-Palestinian viewpoints. Combined, these orders empower the federal government to

monitor, investigate, and deport noncitizens, not for actions that pose direct threats to national

security of public safety but for expressions of political opinion. The Executive Orders thus direct

the use of immigration laws to police dissent and chill First Amendment-protected speech.

       To implement these Executive Orders, the Department of Homeland Security (DHS)

“proactively review[ed] open-source information to identify individuals[.]” 3 Such “open-source

information,” the government says, consists of “unclassified information that has been published

or broadcast in some manner to the general public.” 4 DHS then communicated that open-source

information to the Department of State, which makes a decision about visa or other status

revocation in “reli[ance] upon the underlying information and assessment provided by DHS/ICE.” 5

In some cases, revocations that follow have been alleged to be rooted in the Secretary of State’s

statutory authority under 8 U.S.C. § 1227(a)(4)(C)(i), which authorizes deportation when the

Secretary “has reasonable ground to believe [the individual’s presence in the United States] would

have potentially serious adverse foreign policy consequences for the United States.” 6 More often,


       2
           The White House, Fact Sheet: President Donald J. Trump Takes Forceful and
Unprecedented Steps to Combat Anti-Semitism, (Jan. 30, 2025), https://www.whitehouse.gov/fact-
sheets/2025/01/fact-sheet-president-donald-j-trump-takes-forceful-and-unprecedented-steps-to-
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        3
          Decl. of Unit Chief Roy M. Stanley, Doc. 30-2 at ¶ 5, Taal v. Trump, No. 3:25-cv-00335,
2025 WL 926207 (N.D.N.Y. Mar. 27, 2025).
        4
          Id.
        5
          Decl. of John Armstrong, Doc. 30-3 at ¶ 5, Taal, 2025 WL 926207.
        6
          Ironically, that statutory authority was meant to eliminate the McCarthy-era practice of
ideological exclusion. See 8 U.S.C. § 1182 (a)(3)(C)(iii) (prohibiting exclusion “because of the
alien’s past, current, or expected beliefs, statements, or associations . . . unless the Secretary of
State personally determines that the alien’s admission would compromise a compelling United



                                                 4
      Case 1:25-cv-10685-WGY             Document 60         Filed 04/11/25       Page 13 of 31




the government has relied on the Secretary of State’s discretionary revocation authority. See

8 U.S.C. § 1201(i). To date, this “open-source” process has resulted in the revocation of more than

800 visas of noncitizen students, visitors, and residents—many of whom studied and lived in

Amici States.7

        Consistent with Executive Order 14188, many of the revocations have focused on

supporters of Palestinian rights on college campuses. As just one example, on March 25, plain-

clothes ICE agents surrounded Rümeysa Öztürk—an international Ph.D. student at Tufts

University—and took her into immigration custody, apparently for co-authoring an op-ed in the

school newspaper.8 Other students have either been taken into ICE custody or self-deported after

the revocation of their lawful status, all for expressing their support for Palestinian rights. See

Comp. ¶¶ 32-40 (collecting cases).



States foreign policy interest”); Steven A. Holmes, Legislation Eases Limits on Aliens, N.Y. Times
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(“In yet another sign of diminishing world tensions, the Senate this week gave final Congressional
approval to repealing a provision of a McCarthy-era law that bars foreigners from visiting the
United States because of their political beliefs.”); see also ACLU, The Excluded: Ideological
Exclusion      and     the      War      on     Ideas    at    6     (2007),     https://www.aclu.org/
documents/excluded-ideological-exclusion-and-war-ideas.
        7
          See Inside Higher Ed, International Student Visas Revoked, https://www.insidehighered.
com/news/global/international-students-us/2025/04/07/where-students-have-had-their-visas-
revoked (last visited April 11, 2025). Secretary of State Rubio has also ordered diplomats overseas
to scrutinize social media content of some applicants for student and other types of visas, as well
as some current visa holders, “in an effort to bar those suspected of criticizing the United States
and Israel from entering the country, U.S. officials say.” Edward Wong, Rubio Orders U.S.
Diplomats to Scour Student Visa Applicants’ Social Media, N.Y. Times (Mar. 25, 2025),
https://www.nytimes.com/2025/04/01/us/politics/student-visas-social-media.html. This new
scrutiny appears to be tied to the start of the war in Gaza, as it applies to any applicants who
previously held a student or exchange visa between October 7, 2023, and August 31, 2024, or had
their visa terminated between October 7, 2023, and now. Id.
        8
          Öztürk filed a petition for a writ of habeas corpus in the U.S. District Court for the District
of Massachusetts. See Ozturk v. Hyde, No. 1:25-cv-10695-DJC (D. Mass. Mar. 28, 2025). The
Court initially ordered that she not be removed from the United States, see Ozturk v. Hyde, 2025
WL 942731, Doc. 16, and later transferred the case to Vermont. See Ozturk v. Hyde, 2025 WL
1009445, Doc. 42.

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      Case 1:25-cv-10685-WGY            Document 60        Filed 04/11/25     Page 14 of 31




       Each of these students was targeted for enforcement as part of a systematic effort by the

Trump Administration—via the explicit directive of Executive Order 14188—to use federal

immigration laws to punish noncitizen students (and others) associated with pro-Palestinian

beliefs. See Ozturk v. Hyde, No. 1:25-cv-10695-DJC, 2025 WL 1009445, Doc. 42 at 7-8 (D. Mass.

Mar. 28, 2025) (Casper, J.) (“Ozturk’s case is one of several cases in which the Trump

Administration has implemented these Executive Orders by revoking the immigration status of

non-citizens who expressed support for Palestine.”). In a typical case involving the revocation of

a student visa it might have required lengthy discovery to uncover ICE’s viewpoint discrimination

and retaliatory motive, but this Administration has made no effort to disguise the reasons for its

actions. The Executive Orders themselves are explicit. And even before the inauguration, President

Trump repeatedly threatened to deport any pro-Palestinian student protesters, saying: “Any student

that protests, I [will] throw them out of the country.”9

       Senior members of the Administration have echoed this ideological motive. For example,

when asked about Öztürk’s detention, Secretary of State Marco Rubio announced the revocation

of her visa, explaining, “we gave you a visa to come and study and get a degree, not to become a

social activist that tears up our university campuses.”10 There is no evidence that Öztürk “tore up”

anything at Tufts; indeed, the only “open-source” reason for her arrest appears to be her authorship

of an op-ed in her school newspaper—written with three fellow students and endorsed by

32 others—addressed to Tufts University administrators, arguing that their response to a resolution




       9
           Josh Dawsey, et al., Trump told donors he will crush pro-Palestinian protests, deport
demonstrators, Washington Post (May 27, 2024), https://www.washingtonpost.com/
politics/2024/05/27/trump-israel-gaza-policy-donors/.
        10
            C-SPAN, Secretary Rubio Defends Revoking Turkish Student’s Visa, Mar. 27, 2025,
https://www.c-span.org/clip/news-conference/secretary-rubio-defends-revoking-turkish-students-
visa/5158479.

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      Case 1:25-cv-10685-WGY             Document 60        Filed 04/11/25      Page 15 of 31




passed by student government concerning the war in Gaza had been inadequate. 11 Her detention is

a transparent attack on free speech.12

       The aggressive tactics employed to enforce the Ideological Deportation Policy lay bare its

true intent: intimidating noncitizens into silence. A sudden loss of a visa or status may result in the

individual being immediately deportable. But ICE is not merely initiating deportation proceedings.

Instead, ICE is resorting to alarming displays of power. Öztürk, for example, was walking to a

friend’s house to share a meal to end her Ramadan fast when she was physically restrained by six

plain-clothes federal officers (most of them masked), handcuffed, placed in an unmarked vehicle,

and quickly driven away and out of state.13 These dramatic actions were neither required by



       11
            See Rümeysa Öztürk, et al., Op-ed: Try again, President Kumar: Renewing calls for
Tufts to adopt March 4 TCU Senate resolutions, The Tufts Daily (Mar. 26, 2024),
www.tuftsdaily.com/article/2024/03/4ftk27sm6jkj.
         12
            The Ideological Deportation Policy may have started with those expressing pro-
Palestinian beliefs, but it will not end with them. See Andy J. Semotiuk, Silencing Dissent: U.S.
Moves To Deport Kremlin Critic Kseniia Petrova, Forbes (Mar. 30, 2025),
https://www.forbes.com/sites/andyjsemotiuk/2025/03/30/silencing-dissent-us-moves-to-deport-
kremlin-critic-kseniia-petrova/; Jack Healy & Jazmine Ulloa, ‘We Finally Got You.’ Immigrant-
Rights      Advocate     Arrested     in    Colorado,    N.Y.     Times     (Mar.    18,    2025),
https://www.nytimes.com/2025/03/18/us/immigrant-arrest.html; Eilis O’Neill, et al., ICE detains
leader of farmworker union in northwest Washington state, KUOW (Mar. 26, 2025),
https://www.kuow.org/stories/ice-detains-farmworker-activist-in-northwest-washington-state;
Aurelien Breeden, U.S. Turned Away French Scientist Over Views on Trump Policies, N.Y. Times
(Mar. 20, 2025), https://www.nytimes.com/2025/03/20/world/europe/us-france-scientist-entry-
trump-messages.html.
         13
            Öztürk was seized at 5:49 P.M. in Somerville, Massachusetts, about 15 miles from the
nearest ICE Field Office in Burlington, Massachusetts. See Decl. of Acting Deputy Field Office
Director David T. Wesling, Ozturk v. Trump, No. 1:25-cv-10695-DJC, Doc. 19-1 at ¶ 10 (D. Mass.
Apr. 4, 2025). But she was taken to Lebanon, New Hampshire within an hour of her arrest (at 6:36
P.M.). She then sat in Lebanon for 2 1/2 hours, id. at ¶¶ 11-12, before being processed at the ICE
Field Office in St. Albans, Vermont, over 230 miles from Somerville. Id. at ¶¶ 12-13. The
government claims that this circuitous route was followed because of “operational necessity and
considerations.” Id. at ¶ 7. The next day Öztürk was flown to Louisiana, where she remains
detained. Id. at ¶ 18. See Ozturk v. Hyde, 2025 WL 1009445, Doc. 42 at 18-22 (Casper, J.) (citing
the government’s “furtiveness” and the “irregularity” of her transfer process “coupled with the
failure to disclose Ozturk’s whereabouts even after the government was aware that she had counsel
and the Petition was filed in this Court”).

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      Case 1:25-cv-10685-WGY            Document 60        Filed 04/11/25      Page 16 of 31




national security nor justified by any conceivable risk the student posed. Rather, the point is fear.

The calculated use of the arrest power and arbitrary detention thousands of miles away from their

homes sends a powerful message: the federal government seeks to punish noncitizens for

exercising their constitutionally protected speech and to instill pervasive fear that suppresses

dissent.14 The Administration’s actions reflect the unconstitutional use of immigration

enforcement to deport noncitizens for expressing opinions with which the government disagrees.

       B.      Noncitizen Residents, Students, and Faculty Benefit Amici States

       Noncitizen residents contribute substantially to the economic, cultural, and intellectual

vitality of Amici States. In their communities, these residents generate significant tax revenue, fill

critical workforce gaps, and start businesses that create jobs. In the educational context,

international students and faculty enrich campus life through their diverse perspectives and

contributions to innovation and research advancements that help maintain the competitiveness and

prestige of our colleges and universities. Their presence deepens relationships and ties that create




       14
           These ideological deportations are just one of many actions taken by the Trump
Administration meant to terrify immigrants across the country. It has admitted to deporting at least
one person in error, taken a Massachusetts defendant from state court mid-trial, and bragged about
shipping noncitizens en masse to a “notoriously brutal” prison in El Salvador where they will “face
immediate and intentional life-threatening harm” and “egregious human rights abuses.” Trump v.
J.G.G., 604 U.S. __, 2025 WL 1024097 (2025) (Sotomayor, J., dissenting). The Administration
has also been accused of ignoring federal court orders meant to ensure noncitizens receive due
process; it has argued that, even when it does make a mistake, it cannot retrieve people from the
foreign prisons to which it sends them. See id. These actions have had their intended effect. See
generally M. Gessen, Unmarked Vans. Secret Lists. Public Denunciations. Our Police State Has
Arrived., N.Y. Times (Apr. 2, 2025), https://www.nytimes.com/2025/04/02/opinion/trump-ice-
immigrants.html (“It’s the chilling stories that come by word of mouth. ICE is checking documents
on the subway. ICE is outside New York public libraries that hold English-as-a-second-language
classes. ICE agents handcuffed a U.S. citizen who tried to intervene in a detention in Harlem. ICE
vehicles are parked outside Columbia. ICE is coming to your workplace, your street, your building.
ICE agents are wearing brown uniforms that resemble those of UPS—don’t open the door for
deliveries. Don’t leave the house. The streets in the New York neighborhoods with the highest
immigrant populations have emptied out.”).

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     Case 1:25-cv-10685-WGY           Document 60        Filed 04/11/25     Page 17 of 31




long-term advantages for Amici States’ economic development, cultural enrichment, and

international standing.

       Noncitizen residents contribute to the Amici States’ economies, labor forces, and

communities in several important ways. Immigrant-led households in Massachusetts, for example,

earned over 15% of all income earned in the Commonwealth in 2014. 15 “With those earnings, the

state’s foreign-born households were able to contribute more than one in every seven dollars paid

by Massachusetts residents in state and local tax revenues, payments that support important public

services such as public schools and police.” 16 Immigrants make up a large portion of the

Massachusetts labor force (21.9%) and a disproportionate share of the Commonwealth’s

entrepreneurs (27%), STEM workers (29.3%), and health aides (38.6%). 17 California has over

880,000 immigrant entrepreneurs, who contribute $28.4 billion in business income; 28 Fortune

500 companies in California were founded by immigrants or the children of immigrants. 18 Simply

put, the contributions of these residents strengthen our states’ fiscal health and global

competitiveness. In the community, noncitizen residents revitalize neighborhoods by introducing




       15
            New American Economy, The Contributions of New Americans in Massachusetts (Aug.
2016), https://www.newamericaneconomy.org/wp-content/uploads/2017/02/nae-ma-report.pdf.
Note that 53% of immigrants in Massachusetts are naturalized citizens. See American Immigration
Council, New Americans in Massachusetts (2023), https://map.americanimmigrationcouncil.org/
locations/massachusetts/ (last visited Apr. 9, 2025).
         16
            The Contributions of New Americans in Massachusetts, supra note 15.
         17
            The Contributions of New Americans in Massachusetts, supra note 15. See generally,
Aidan Enright, et al., International Students: Poorly Suited Immigration Pathways Stymie
Formation of High Growth Businesses 4, Pioneer Institute, (July 2024),
https://files.eric.ed.gov/fulltext/ED656349.pdf (“A significant body of research has found that
immigrants are more likely to start businesses than those born in the U.S., and the propensity of
international students to concentrate in STEM fields indicates enormous potential for economic
contributions.”).
         18
            American Immigration Council, Immigrants in California, https://map.american
immigrationcouncil.org/locations/california/ (last visited Apr. 9, 2025).

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     Case 1:25-cv-10685-WGY             Document 60      Filed 04/11/25     Page 18 of 31




diverse arts, cuisine, and traditions that strengthen community bonds. 19 In healthcare settings,

noncitizen professionals often provide care to medically underserved communities and bridge

critical language gaps.20 The presence of noncitizen residents promotes multilingualism and

cultural competency among native-born residents, preparing future generations for success in an

increasingly interconnected world. 21

       Beyond these economic and community impacts, noncitizen residents are vital to the

success of Amici States’ academic institutions. International students and faculty are invaluable

members of our campus communities. During the 2023 to 2024 school year, Amici States hosted

nearly 640,000 international students who supported more than 235,000 jobs and contributed

approximately $27.5 billion annually to our economies through tuition, living expenses, and




       19
              See Americans for the Arts, Arts Impact Explorer Fact Sheet:
Arts + Immigration (July 2024), https://ww2.americansforthearts.org/sites/default/files/2025-
01/Arts%20%2B%20Immigration.pdf (noting that “[f]ifty-seven percent of Americans believe
that immigrants improve the quality of the food, music, and arts in the United States”).
        20
           See Morhaf Al Achkar, et al., Integrating Immigrant Health Professionals into the U.S.
Healthcare Workforce: Barriers and Solutions, J. Immigr. Minor Health, (Apr. 2023),
https://pmc.ncbi.nlm.nih.gov/articles/PMC10119818/ (“Immigrant health professionals play
essential roles in today’s health system. Not only do immigrant health professionals help relieve
workforce shortages, especially in under-resourced areas, they also bring awareness of and
sensitivities to the needs and health challenges of their communities.”); L.E. Gomez & Patrick
Bernet, Diversity improves performance and outcomes, 111 J. Nat’l Med. Ass’n 383, 391 (Aug.
2019), https://www.sciencedirect.com/science/article/abs/pii/S0027968418303584?via%3Dihub
(compiling research on the healthcare industry and concluding that “[d]iversity can help
organizations improve both patient care quality and financial results”).
        21
            See, e.g., Brian D. Smedly, et al., Institute of Medicine (US) Committee on
Understanding and Eliminating Racial and Ethnic Disparities in Health Care, Unequal
Treatment: Confronting Racial and Ethnic Disparities in Healthcare, at 123 (2003),
https://www.ncbi.nlm.nih.gov/books/NBK220358/pdf/Bookshelf_NBK220358.pdf, (“Racial and
ethnic diversity of health professions faculty and students helps to ensure that all students will
develop the cultural competencies necessary for treating patients in an increasingly diverse
nation.”).

                                               10
      Case 1:25-cv-10685-WGY            Document 60        Filed 04/11/25      Page 19 of 31




related spending.22 These students and faculty members bring diverse perspectives that enhance

Amici States’ educational environments, with international students and scholars fostering global

awareness and cross-cultural understanding in classrooms and research settings. 23 For many

students, campus life is the first time they are living with and studying alongside students from

different countries and cultures. These interactions expand students’ worldviews, build cultural

empathy, and help develop them into global leaders.

       Amici States’ public colleges and universities are deeply committed to global engagement,

partnering with international counterparts to facilitate research projects and academic programs all

over the world. UMass Amherst alone has partnerships in 36 countries. 24 The University of

Washington has over 200 partnerships spanning 47 countries. 25 Public colleges and universities in

Amici States have intentionally fostered these connections because international collaboration

benefits communities at the local, national, and international level. 26 Amici States’ public colleges

and universities also have a long tradition of hosting foreign students and scholars. These programs

reflect the reciprocal benefits conferred by foreign exchange: Amici States gain and grow




       22
           See NAFSA: Association of International Educators, NAFSA International Student
Economic Value Tool              (2023-24), https://www.nafsa.org/policy-and-advocacy/policy-
resources/nafsa-international-student-economic-value-tool-v2 (last visited Apr. 11, 2025).
        23
             Empirical research suggests that academic performance improves as the
percentage of immigrant students increases. See Paul N’Dri Konan, et al., Cultural Diversity in the
Classroom and its Effects on Academic Performance: A Cross-National Perspective, 41 Soc.
Psych. 230-37 (2010). See also Judit Kende, et al., Social and institutional inclusion in
multi-ethnic schools enable better intergroup relations for majority youth and higher school
achievement for minority youth, 103 Int’l J. of Intercultural Rels. (Nov. 2024),
https://www.sciencedirect.com/science/article/pii/S0147176724001573.
        24
           UMass Amherst, Global Partnerships, https://www.umass.edu/global-affairs/global-
partnerships (last visited Apr. 10, 2025).
        25
           See University of Washington, A Global University, https://www.washington.edu/
global/ (last visited Apr. 10, 2025).
        26
              See, e.g., University of Illinois System, International Partnerships,
https://www.uillinois.edu/about/international_partnerships.

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       Case 1:25-cv-10685-WGY            Document 60        Filed 04/11/25       Page 20 of 31




economically, socially, and culturally from the presence of noncitizen students and faculty while

the international community benefits immensely by the knowledge-sharing and global problem-

solving these exchanges allow.

        In short, noncitizen residents are indispensable to Amici States. They launch businesses

that create jobs for citizens and noncitizens alike. They advance research that addresses pressing

challenges. They are drivers of innovation and entrepreneurship. They are neighbors, friends, and

pillars of our communities. The benefits they afford the Amici States cannot be overstated.

III.    THE IDEOLOGICAL DEPORTATION POLICY INFLICTS SEVERE AND
        IRREPARABLE HARM ON AMICI STATES AND IS CONTRARY TO THE
        PUBLIC INTEREST

        To obtain a preliminary injunction, Plaintiffs must demonstrate a likelihood of success on

the merits, a likelihood of irreparable harm in the absence of relief, that the balance of equities is

in their favor, and that injunctive relief is consistent with the public interest. Arborjet, Inc. v.

Rainbow Treecare Sci. Advancements, Inc., 794 F.3d 168, 171 (1st Cir. 2015). Amici States

support plaintiffs’ arguments in favor of all four factors relevant to a preliminary injunction but

write here to explain the irreparable harm inflicted on Amici States by the Administration’s

Ideological Deportation Policy, as well as how the public interest favors injunctive relief. In cases

like this one, which affect many non-parties (including Amici States), the hardship to third parties

is integral to the public interest analysis. See Everett J. Prescott, Inc. v. Ross, 383 F. Supp. 2d 180,

193 (D. Me. 2005) (citing United States v. Zenon, 711 F.2d 476 (1st Cir. 1983)).

        A.      The Ideological Deportation Policy Inflicts Educational and Institutional
                Harm on Colleges and Universities Within Amici States

        When noncitizen students and faculty face potential deportation based on their expressed

viewpoints, every aspect of the academic ecosystem is damaged. Classroom discussions become

artificially constrained, as international participants either stop attending altogether or self-censor



                                                  12
     Case 1:25-cv-10685-WGY            Document 60        Filed 04/11/25      Page 21 of 31




to avoid expressing perspectives on issues that might be deemed controversial, especially on topics

of public interest and import. In fact, speech on topics of public interest enjoys greater

constitutional protection, not less.27 That heightened protection is most necessary in the classroom,

where students must challenge one another’s assumptions, broaden one another’s perspectives,

and ultimately educate one another through the collision of diverse viewpoints. 28 That is why the

First Amendment simply “does not tolerate laws that cast a pall of orthodoxy over the classroom”

because “[t]he classroom is peculiarly the ‘marketplace of ideas.’ ” Keyishian v. Bd. of Regents of

Univ. of State of N.Y., 385 U.S. 589, 603 (1967) (citation omitted).

       The Ideological Deportation Policy defrauds that marketplace and degrades the educational

experience: from one of authentic intellectual exploration to a stilted performance where certain

voices remain deliberately silent. Student organizations, publications, and campus activism—all

training grounds for democratic participation—are now divided between students who can speak

freely and those who cannot (because they fear retaliation under the Ideological Deportation

Policy). This division creates a separate and unequal educational environment, including at Amici

States’ public colleges and universities, in which some students can participate in campus life and

develop their intellectual identities while others fear reprisal for expressing certain viewpoints.

Where even a small number of students self-censor, the educational experience for all suffers. This




       27
           See Snyder v. Phelps, 562 U.S. 443, 452 (2011) (“[S]peech on public issues occupies the
highest rung of the hierarchy of First Amendment values, and is entitled to special protection.”
(citation omitted)).
        28
            See, e.g., Mission of the California State University, https://www.calstate.edu/csu-
system/about-the-csu/Pages/mission.aspx (last visited Apr. 10, 2025) (“[T]he California State
University . . . [e]ncourages free scholarly inquiry and protects the University as a forum for the
discussion and critical examination of ideas, findings, and conclusions.”).

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      Case 1:25-cv-10685-WGY             Document 60       Filed 04/11/25      Page 22 of 31




harm is exacerbated by the arbitrariness of the government’s Ideological Deportation Policy. 29

Though crystal clear in its ideological and censorial nature, the policy does not specify what

particular views will subject students to it.

       Beyond the classroom, “[s]cholarship cannot flourish in an atmosphere of suspicion and

distrust.” Sweezy v. State of N.H. ex rel. Wyman, 354 U.S. 234, 250 (1957). Academic inquiry is

compromised when scholars must weigh immigration consequences alongside intellectual

pursuits. International academics might abandon promising areas of research, decline to challenge

prevailing orthodoxies, or temper their findings to avoid conclusions that might be dissatisfactory

to the federal government.30 Such constraints will stifle innovation. The rapid development of

COVID-19 vaccines, for example, illustrates the importance of open dialogue to scientific

achievement, as “[r]esearchers developed ad hoc research collaborations across disciplines,

institutions and borders.”31 Universities played an important role in that global effort. 32 Self-

censorship also undermines the peer review process, which depends on honest and robust critique.

And academic conferences—essential for the exchange of ideas on campuses—lose their vitality

when international participants must either cancel or temper their contributions. Spontaneous



       29
           See Cramp v. Bd. of Pub. Instruction of Orange Cnty., 368 U.S. 278, 287 (1961) (“The
vice of unconstitutional vagueness is further aggravated where, as here, the [policy] . . . inhibit[s]
the exercise of individual freedoms affirmatively protected by the Constitution.”).
        30
            See Miri Yemini, Bridging Borders: Toward Equity in International Research
Collaborations NAFSA (Nov./Dec. 2024), https://www.nafsa.org/professional-resources/
research-and-trends/trends-insights/bridging-borders-novdec24           (“International      research
collaborations have become essential tools in advancing knowledge, offering benefits to
researchers, practitioners, higher education institutions, nation-states, international organizations,
and funding agencies.”).
        31
           Chris Yiu, et al., A research and policy agenda for the post-pandemic world, Future
Healthcare J. (July 2021), https://pmc.ncbi.nlm.nih.gov/articles/PMC8285152/.
        32
           See John P. Moore & Ian A. Wilson, Decades of basic research paved the way
for today’s ‘warp speed’ Covid-19 vaccines, Stat (Jan. 5, 2021), https://www.statnews.com/
2021/01/05/basic-research-paved-way-for-warp-speed-covid-19-vaccines/ (noting that the
technology used in the vaccines “emerged during the past decade from university laboratories”).

                                                 14
      Case 1:25-cv-10685-WGY            Document 60         Filed 04/11/25      Page 23 of 31




exchanges are replaced with sanitized interactions. This not only deprives the academic

community of diverse insights but also sends a message that certain perspectives are unwelcome

as part of the intellectual discourse on college campuses within Amici States.

       Censorship thus threatens the First Amendment rights of both speaker and audience, as

“[t]he right of freedom of speech . . . . necessarily protects the right to receive it.” Martin v. City

of Struthers, 319 U.S. 141, 143 (1943). Indeed, this is precisely the reason why “[v]iewpoint

discrimination is . . . an egregious form of content discrimination” and “[t]he government must

abstain from regulating speech when the specific motivating ideology or the opinion or perspective

of the speaker is the rationale for the restriction.” Rosenberger v. Rector & Visitors of Univ. of Va.,

515 U.S. 819, 829 (1995) (emphasis added). That holds true whether those viewpoint-based

restrictions on speech are achieved through explicit government censorship, a deliberately

ambiguous enforcement policy, or the more insidious mechanism of selective vulnerability of the

speaker to government retaliation.

       Here, the ambiguity of the Ideological Deportation Policy deepens its chilling effect. For

example, Secretary of State Rubio’s recent diplomatic cable requiring enhanced social media

vetting procedures for certain visa holders and applicants (referenced supra note 7) tells diplomats

to look for “conduct that bears a hostile attitude toward U.S. citizens or U.S. culture (including

government, institutions, or founding principles).” 33 The astonishing breadth of this description of

the speech prohibited—which readily includes any criticism of “U.S. citizens or U.S. culture”—

combined with the government’s relentless assertion of pretexts every time it enforces the policy,

has left its contours completely ill-defined. And “[u]ncertain meanings inevitably lead citizens to



       33
          Marisa Kabas, State Dept. demands ‘enhanced’ social media vetting of student visa
applicants, The Handbasket (Mar. 26, 2025), https://www.thehandbasket.co/p/state-dept-
enhanced-social-media-vetting-student-visa-applicants.

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     Case 1:25-cv-10685-WGY            Document 60        Filed 04/11/25      Page 24 of 31




steer far wider of the unlawful zone than if the boundaries of the forbidden areas were clearly

marked.” Grayned v. City of Rockford, 408 U.S. 104, 109 (1972) (cleaned up). In the face of such

ambiguity, noncitizen students and faculty are left to guess at what speech might trigger their

deportation, creating a chilling effect on speech and scholarship that extends far beyond what even

the policy itself might have been intended to proscribe. Here, that repressive chill is especially

profound because speakers may face punishment as grave as deportation, which can mean the loss

“of all that makes life worth living.” Ng Fung Ho v. White, 259 U.S. 276, 284 (1922).

       Although these harms derive from core First Amendment principles, they are not abstract.

International students and faculty across Amici States fear the Ideological Deportation Policy,

leading to censorship in their expression, studies, and research. 34 According to a declaration filed

by Tufts University in support of Rümeysa Öztürk’s habeas petition, “[t]he University has heard

from students, faculty and staff who are forgoing opportunities to speak at international

conferences and avoiding or postponing international travel. In the worst cases, many report being




       34
           Countless news articles have documented this chilling effect. See Emma Johnson,
‘SCARED TO LEAVE MY HOUSE’ Mavericks react to ICE-detained student, what’s being done,
The Reporter (Apr. 8, 2025), https://www.msureporter.com/2025/04/08/scared-to-leave-my-
house/; Anvee Bhutani, US student journalists go dark fearing Trump crusade against pro-
Palestinian speech, The Guardian (Apr. 7, 2025), https://www.theguardian.com/us-
news/2025/apr/07/student-journalists-remove-stories-trump; Jeff Tollefson, International PhD
students make emergency plans in fear of US immigration raids, Nature (Apr. 4, 2025),
https://www.nature.com/articles/d41586-025-01056-5; Lexi Lonas Cochran, Trump crackdown
casts chill over international student programs, The Hill (Apr. 3, 2025), https://thehill.com/
homenews/education/5226292-trump-immigration-crackdown-international-students-college-
campus-protests-ice-rubio-deportation-khalil/; Benjamin Bardman, Trump Immigration Actions
are Likely to Have a Chilling Effect on Online Speech, Vanderbilt J. of Ent. & Tech. L.
(Mar. 31, 2025),       https://www.vanderbilt.edu/jetlaw/2025/03/31/trump-immigration-actions/;
Olivia Ebertz, Deportations and detainments are having a chilling effect at Brown, Rhode Island
PBS (Mar. 27, 2025), https://thepublicsradio.org/education/deportations-and-detainments-are-
having-a-chilling-effect-at-brown/; Liam Knox, ‘Palpable Fear’ Hangs Over International
Students, Inside Higher Ed (Mar. 18, 2025), https://www.insidehighered.com/news/
global/international-students-us/2025/03/18/international-students-navigate-escalating-threats.

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      Case 1:25-cv-10685-WGY            Document 60        Filed 04/11/25       Page 25 of 31




fearful of leaving their homes, even to attend and teach classes on campus.” 35 Similarly, at some

Massachusetts state colleges and universities faculty members have decided not to attend

international conferences out of fear of re-entry denial, and at least one international panelist has

withdrawn from a domestic conference. International students report that they are afraid to speak

up in class out of concern that they will be reported to ICE; others have asked to attend classes

virtually to reduce the possibility of contact with ICE; and some are so afraid that they have chosen

to withdraw from their classes altogether and relocate. Student groups have stopped hosting events

for fear that individual student members might be targeted. When events do go forward,

Massachusetts schools have seen a noticeable decline in international student attendance. Doctoral

students have requested that their dissertations be embargoed and shielded from public release out

of fear that their topic of study will be used as a basis for ideologically-based immigration action.

University of Washington officials report that this anxiety extends even to noncitizen medical

trainees who are concerned about their ability to continue training in the United States or obtain

future positions due to immigration changes. And in New York, State University of New York

(SUNY) institutions report a reduced willingness among international scholars to teach, engage in

public discourse at SUNY, or participate in any United Stated-based research. As visa revocations

accelerate across the Amici States every day, these chilling effects continue to multiply. 36

       If international students and faculty are afraid to speak freely in the United States, they will

not want to come here. The perception (and reality) of ideological targeting undermines the


       35
            See Tufts University, University Declaration for Rümeysa Öztürk (Apr. 2, 2025),
https://www.tufts.edu/president/speeches-and-messages/04022025-university-declaration-for-
rumeysa-ozturk.
        36
           Massachusetts has seen nearly 100 such revocations in its public and private colleges,
with little or no explanation. See Inside Higher Ed, International Student Visas Revoked, supra
note 7. To date, the University of Washington has seen nine such revocations. Id. In California,
the federal government has revoked 140 student visas (and counting). Id.

                                                 17
      Case 1:25-cv-10685-WGY            Document 60         Filed 04/11/25    Page 26 of 31




essential academic freedom that has historically made the United States a global beacon. Talented

scholars will instead now view our country as an unpredictable and potentially hostile educational

environment, driving them toward opportunities in peer countries with more inclusive policies. 37

Indeed, a number of public colleges and universities in Amici States are already experiencing

significant declines in enrollment interest from international students as compared to 2024. For

example, one Massachusetts public university estimates—based on analysis undertaken since the

challenged policy went into effect—that there will be a 21% drop in prospective international

students for the 2025 to 2026 academic year. Another reports that completed applications for first-

year international students are down 12%. SUNY institutions are reporting similarly significant

declines in international applications, visa approvals, and continued enrollment by students. One

SUNY campus is reporting a significant reduction in new and continuing international enrollments

in its Master’s degree programs for the Fall 2025 semester as compared to the same date last year.

These recruitment and retention challenges will result in a “brain drain” from the United States

that will reverberate through our economy and society.38 The exodus of current talent means a loss

of future innovation. If allowed to continue, the Ideological Deportation Policy will create a legacy

of international distrust that could take generations to repair.

       Our schools themselves will be devastated. The loss of prospective students—and current

students who abandon their studies—will severely weaken American universities’ global

competitiveness, research capabilities, and financial stability. As discussed supra, international




       37
          See Liam Knox, International Enrollment’s Precarious Moment, Inside Higher Ed
(Mar.     19,    2025),     https://www.insidehighered.com/news/global/international-students-
us/2025/03/19/colleges-fear-decline-international-student.
       38
          Robin Hattersley, Visa Revocations Leave Hundreds of International College Students
in Limbo, Campus Safety Magazine (Apr. 8, 2025), https://www.campussafetymagazine.com/
news/visa-revocations-leave-international-college-students-in-limbo/169053/.

                                                  18
     Case 1:25-cv-10685-WGY            Document 60        Filed 04/11/25      Page 27 of 31




students contribute billions of dollars annually to the U.S. economy while bringing unique

perspectives to the classroom that enrich the educational experience for everyone. Loss of these

contributions will cause declining research output, diminished global rankings, and significant

budget shortfalls that could trigger program cuts, reduce scholarships, and increase tuition (for

native and international students alike). 39 The Ideological Deportation Policy will also jeopardize

existing international collaborations, study abroad programs, and faculty exchange initiatives—as

it already has—because partner institutions in other countries will hesitate to engage with a system

where students or faculty fear speaking their minds. The long-term consequence will be

catastrophic: the erosion of America’s position as a global leader in higher education. 40

       B.      The Ideological Deportation Policy Harms Public Safety, Public Health, and
               Religious Worship in Amici States

       The threat of ideological deportation extends beyond academia and free speech, impacting

other vital public interests—such as public health, public safety, and free religious worship.

       From a public safety perspective, the Ideological Deportation Policy will cause noncitizens

to avoid cooperating with law enforcement if they fear deportation, hampering crime reporting,


       39
            See Liam Knox, Student Visa Dragnet Reaches Small Colleges, Inside Higher Ed
(Apr. 8, 2025), https://www.insidehighered.com/news/global/international-students-
us/2025/04/08/trump-admin-broadens-scope-student-visa (“Many of the small colleges struggling
to respond to student visa revocations have come to rely on international tuition dollars to support
flagging revenue from shrinking domestic enrollment or declines in state funding.”).
         40
            The short-term consequence has been chaos on campuses across Amici States.
Specifically, institutions of higher education are expending significant time and effort attempting
to advise and support noncitizen students and faculty. For example, colleges and universities are:
advising individual students about possible changes to their academic plans due to actual or
potential changes in visa status, reviewing students’ visa statuses more frequently than usual to
determine which students may be at risk, attempting to understand the federal government’s
evolving visa requirements, and responding to increased mental health concerns (e.g., anxiety)
associated with uncertainty about individuals’ continued presence in the United States. Individual
institutions have likely spent hundreds of personnel hours attempting to navigate these issues—
time that is taken away from managing the regular operations of a campus including, but not
limited to, instruction.

                                                 19
        Case 1:25-cv-10685-WGY          Document 60        Filed 04/11/25      Page 28 of 31




witness participation, and community policing.41 From a public health perspective, Amici States

depend on noncitizen healthcare workers who, like other immigrants, are forced to live in a climate

of fear—nationwide over one million immigrants work in healthcare, including 40% of home

health aides and 18% of nursing home staff. 42 Finally, the Ideological Deportation Policy

undermines religious worship, as many religious beliefs have ideological components. Freedom

of worship requires free speech: the right to articulate beliefs, share religious teachings, and

conduct discussions. Religious freedom would be nullified if certain religious beliefs become

grounds for deportation or exclusion. Noncitizens will hesitate to speak freely at (or even attend)

religious ceremonies. Houses of worship—historically sanctuaries for honest expression—will

become spaces of suspicion and fear, particularly affecting minority religious groups. When free

expression is attacked, many aspects of the public interest suffer alongside it.

         In sum, the Ideological Deportation Policy has echoed across nearly all domains in Amici

States. This Court should enjoin a policy that will make our states less safe, less healthy, and less

free.

IV.      CONCLUSION

         For the foregoing reasons, this Court should grant Plaintiffs’ motion for a preliminary

injunction.




         41
           Meg Anderson, Police say ICE Tactics are eroding public trust in local law enforcement,
NPR (Mar. 30, 2025), https://www.npr.org/2025/03/30/nx-s1-5304236/police-say-ice-tactics-are-
eroding-public-trust-in-local-law-enforcement.
        42
           Nicole Lou, Over 350K Health Workers Face Deportation Risk, MedPageToday.com
(Apr. 3, 2025), https://www.medpagetoday.com/publichealthpolicy/workforce/114947; Vanessa
G. Sánchez & Daniel Chang, Immigration crackdowns disrupt caregivers. Families are paying the
price., NBC News (Apr. 3, 2025), https://www.nbcnews.com/health/health-news/trump-
immigration-crackdowns-threaten-health-caregiving-us-families-rcna199383.

                                                 20
     Case 1:25-cv-10685-WGY         Document 60       Filed 04/11/25   Page 29 of 31




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                                            21
    Case 1:25-cv-10685-WGY       Document 60   Filed 04/11/25     Page 30 of 31




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                                       22
     Case 1:25-cv-10685-WGY            Document 60       Filed 04/11/25      Page 31 of 31




                                CERTIFICATE OF SERVICE

       I, David Rangaviz, hereby certify that I have this day, April 11, 2025, served the foregoing
document upon all parties of record, by electronically filing to all ECF-registered parties and by
sending a copy, first-class mail, postage prepaid to all unregistered parties.

                                                            /s/ David Rangaviz
                                                            David Rangaviz




                                                23
